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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

 SVITLANA DOE, et al.,

                               Plaintiffs,
                                                     C.A. No: 1:25-cv-10495-IT
                 v.

 KRISTI NOEM, in her official capacity as
 Secretary of Homeland Security, et al.,

                               Defendants.


                  PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

        Plaintiffs, including Proposed Class Representatives Svitlana Doe, Maksym Doe, Maria

Doe, Alejandro Doe. Armando Doe, Ana Doe, Carlos Doe, Omar Doe, Kyle Varner, Wilhen Pierre

Victor, Valentin Rosales Tabares, Marim Doe, Adolfo Gonzalez, Jr., Aleksandra Doe, Teresa Doe,

and Rosa Doe (“Proposed Class Representatives”), on behalf of themselves and the proposed class

they seek to represent, move to certify a class pursuant to Rule 23.

        The Proposed Class Representatives respectfully request that this Court issue an order

certifying a class that is defined as:

    a) All individuals with pending applications to sponsor a beneficiary for any humanitarian
       parole process, including but not limited to U4U, CHNV, FRP, MPIP, and CAM, which
       applications are subject to the January 20 Huffman memo and subsequent actions by
       Defendants to pause or otherwise terminate the processing of such applications (the
       “Sponsor Subclass”); and

    b) All individuals who have received humanitarian parole through already established
       humanitarian parole processes, such as the U4U, CHNV, OAW, FRP, MPIP, and CAM
       parole processes, with any pending applications for any additional immigration benefit,
       which applications are subject to the “administrative hold” set out in the February 14
       Davidson memorandum, the January Higgins Directive, and other subsequent actions by
       Defendants to pause or otherwise terminate the processing of such applications (the
       “Immigration Benefits Subclass”).

        Plaintiffs would exclude from the class definition any individuals or groups who choose to
        opt out of the class in order to seek relief in separate litigation.
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       The Plaintiffs also respectfully request that this Court appoint the undersigned as class

counsel and the Proposed Class Representatives as class representatives.

       The basis for this motion for class certification is that the proposed class meets all of the

requirements for class treatment under Rule 23(a) and (b)(2), and the proposed class counsel meet

all of the requirements set forth in Rule 23(a) and (g). The grounds for this motion are explained

in the accompanying memorandum of law and its exhibits.

       A Proposed Order is filed herewith.

                            REQUEST FOR ORAL ARGUMENT

       Plaintiffs respectfully request an oral argument Pursuant to Local Rule 7.1(d) on this

Motion.

 Dated: March 21, 2025                              Respectfully submitted,

                                                    /s/ John A. Freedman
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                                                     Attorneys for Plaintiffs




                      CERTIFICATE UNDER LOCAL RULE 7.1(a)(2)

The parties have conferred pursuant to Local Rule 7.1(a)(2). Defendants oppose this motion.

Dated: March 21, 2025

                                              /s/ John A. Freedman
                                              John A. Freedman




                                 CERTIFICATE OF SERVICE

I, John A. Freedman, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

Dated: March 21, 2025



                                              /s/ John A. Freedman
                                              John A. Freedman

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